                             UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF NORTH CAROLINA
                                  CHARLOTTE DIVISION

                                                      No. 3:06-CR-74-2-BR

UNITED STATES OF AMERICA,                             )
                                                      )
               v.                                     )              ORDER
                                                      )
                                                      )
RICKY EDWARD GRAVES                                   )



       In this case the defendant was charged in a Superseding Bill of Indictment with

conspiracy to defraud the United States in violation of 18 U.S.C. § 371 and obstruction of the

due administration of the Internal Revenue Code in violation of 26 U.S.C. § 7212(a). The matter

came on for hearing before the undersigned, and a jury, in Charlotte on 2 April 2007. After a

trial of eight days, the jury returned a verdict of Not Guilty as to both counts of the Superseding

Bill of Indictment.

       The Court is concerned that the testimony and evidence in the case may have shown that

defendant engaged in conduct which would be in violation of the Rules of Professional Conduct

of the North Carolina State Bar. It is, therefore, ORDERED:

       1. That the North Carolina State Bar be advised of the Court’s concern by service of a

copy of this order; and

       2. That, upon request of the North Carolina State Bar, the Clerk of this Court and the




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court reporter who reported this trial, provide any part of, or all, of the proceedings in this case

as the North Carolina State Bar may deem necessary to carry out its duties and responsibilities.

       This 13 April 2007.




                                               __________________________________
                                                     W. Earl Britt
                                                     Senior U.S. District Judge




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